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IN THE UNITED STATES DISTRICT COURT
F()R THE N()RTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CHARMAINE REED, SOPHIA
BAILEY, OSCAR DAVIS, CA SHAE
HAYES, GLORIA JACKSON, ERICA
MCGRIFF, RHONDA O’CONNOR,
PATRICIA PRICE, RONALD SWEATT,
on behalf of themselves and all other
similarly situated persons, known and
unknown, Case No. l :16-cv-03377

Plaintiffs, Magistrate Judge Sidney I. Schenkier

V.

POSITIVE CONNECTIONS, WC. a/k/a
STUDENT TRANSPORTATION OF
AMERICA a!k/a STA,

\._/\_/\_/\_/\_/\_/\__/\./\_,/\_/\,/\,/\_/\,/\_/\-/\_/\_/

Defendant.

OR])ER APPROVING SETTLEMENT

Upon the parties’ Joint Motion for Approval of Settlement, the Court, having reviewed
the materials submitted by the parties and finding the settlement of this matter to be a fair and
reasonable compromise of claims under the Fair Labor Standards Act and the Illinois Minimum
Wage LaWJ hereby approves this settlement and dismisses this matter and related claims of
Plaintiffs and Opt-In Plaintiffs With prejudice, all parties to bear their own costs and fees except

as may be otherwise provided in the parties’ settlement agreement

ENTERED:

U`n`i;ted State_i:s Magistrate Judge

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